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     MARK REICHEL (Cal. SBN #155034)
 1   REICHEL & PLESSER LLP
 2
     455 Capitol Mall, Suite 350
     Sacramento, CA. 95814
 3   Tel. (916) 498-9258
     Fax (888) 567-2949
 4
     E-Mail: mark@reichellaw.com
 5
     Attorney for Defendant
 6   LITTANAVONE KEOPADUBSY

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:13-cr-078 MCE
11                                                   )
                                                     )       STIPULATION AND
            Plaintiff,                               )       ORDER CONTINUING STATUS
12
                                                     )       CONFERENCE
13   v.                                              )
                                                     )
14   LITTANAVONE KEOPADUBSY, et al                   )       Date: July 3, 2014
                                                     )       Time: 9:00 a.m.
15                                                   )       Judge: Honorable Morrison C. England, Jr.
                                                     )
16
            Defendants.                              )
                                                     )
17                                                   )

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19          IT IS HEREBY stipulated by and between the parties hereto through their respective

20   counsel, undersigned hereto, that the current status conference be rescheduled for July 3, 2014

21   at 9:00 a.m.

22          Defense counsel continues to investigate the case and is engaged in negotiations to

23   resolve the matter with the United States.

24          Accordingly, all counsel and defendant agree that time under the Speedy Trial Act from

25   the date this stipulation is lodged, through July 3, 2014 should be excluded in computing the

26   time within which trial must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C.

27   Section 3161(h)(7)(B) (iv) and Local Code T4 in that the granting of the continuance serves the

28   ends of justice and outweighs the best interests of the public and the defendant in a speedy trial.



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 1
     Dated: May 14, 2014                               /s/ MARK J. REICHEL
 2                                                            MARK J. REICHEL
                                                              Attorney for Defendant
 3

 4
     Dated: May 14, 2014                               BENJAMIN B. WAGNER
 5                                                         United States Attorney

 6                                                     by:    /s/ MARK J. REICHEL for
 7
                                                              PAUL HEMESETH
                                                              Assistant U.S. Attorney
 8                                                            Attorney for Plaintiff
 9                                            ORDER

10          IT IS SO ORDERED. For the reasons set forth above, the Court finds that there is

11   GOOD CAUSE for the continuance and the exclusion of time, and that the ends of justice

12   served by this continuance outweigh the best interests of the public and the defendant in a

13   speedy trial. Time is excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.

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15   Dated: May 21, 2014

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